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                                            June 4, 2024


  Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
  United States District Court – District of NJ
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Court Room 7W
  Trenton, NJ 08608

         RE:    In re: Johnson & Johnson Talcum Powder Products Marketing, Sales
  Practices and
         Products Liability Litigation – MDL 2738

         This correspondence relates to: Sandra Kopp Prickett v. Johnson & Johnson, Case
  No. 3:19-cv-20353 and Roberta Lynn Smith v. Johnson & Johnson, Case No. 3:19-cv-20329

  Dear Honorable Rukhsanah L. Singh:

          Plaintiffs respond to the Johnson & Johnson Defendants’ letter [Docket No. 32601] asking
  why cases on their attached Exhibit A [Docket No. 32601-02] should not be dismissed with
  prejudice for an alleged failure to serve a Plaintiff Profile Form (“PPF”) pursuant to the process
  stated in the Case Management Order dated February 13, 2024 [Docket NO. 29032].

          Defendants identified Plaintiff Sandra Kopp Prickett and Plaintiff Roberta Lynn Smith as
  not having complied with the Court’s order [See Docket No. 185004, Prickett page 28 of 41, row
  1195 and Smith page 28 of 41, row 1194). Plaintiffs both served a copy of their PPFs to Johnson
  & Johnson on 5/16/2024. A copy of the Registry for Sandra Kopp Prickett as it exists today is
  attached hereto as Exhibit 1. A copy of the Registry for Roberta Lynn Smith as it exists today is
  attached hereto as Exhibit 2. A copy of the Brown Greer submission report for Prickett and Smith
  is attached hereto as Exhibit 3.

          Accordingly, Plaintiffs Sandra Kopp Prickett and Roberta Lynn Smith seek entry of an
  Order that (1) directs Johnson & Johnson to correct the Record in the docket concerning the
  Prickett and Smith cases, so as to avoid further prejudice; (2) instructs Johnson & Johnson to
  directly coordinate with Brown Greer for the purpose of updating and/or verifying Johnson &
  Johnson’s own access to the MDL Centrality records including the portal’s full and complete
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  content; (3) instructs Johnson & Johnson to meet and confer with the undersigned if its counsel
  contend that the Prickett and Smith submissions are not contained within the portal; and (4)
  whatever further relief this Court deems just and appropriate.

                                             Respectfully submitted,


  Dated: June 4, 2024                        /s/ Michael B. Lynch____________
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                                             and

                                             /s/ Levi M. Plesset____________
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                                             Attorneys for Plaintiff




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                           CERTIFICATE OF SERVICE

        I hereby certify that on June 4, 2024, a copy of the foregoing document was

  filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be

  sent by operation of the Court’s electronic filing system to all parties indicated on

  the electronic filing receipt. Parties may access this filing through the Court’s

  system.


                                                /s/ Michael B. Lynch____________
                                                Michael B. Lynch




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